Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 1 of 41 Page ID #:1503




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11

12                        UNITED STATES DISTRICT COURT
13         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

14   JOHN C. EASTMAN,                       Case No.: 8:22-cv-00099-DOC-DFM
15                         Plaintiff,       PLAINTIFF’S BRIEF IN SUPPORT OF
     vs.                                    PRIVILEGE ASSERTIONS
16
     BENNIE G. THOMPSON, et al.             Date: March 9, 2022
17
                           Defendants       Time: 9:00 a.m.
18                                          Judge: Hon. David O. Carter
19                                          Magistrate Judge: Hon. Douglas F.
20                                          McCormick
                                            Crtrm.: 9D
21                                          Trial Date: not set

22

23

24

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26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 1
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 2 of 41 Page ID #:1504




1                                                          TABLE OF CONTENTS

2

3     TABLE OF AUTHORITIES...................................................................................3
4     INTRODUCTION ...................................................................................................6
      ARGUMENT ........................................................................................................10
5
      I.       The Materials Identified in Plaintiff’s Log are All Covered by Attorney
6              Client and/or Work Product Privilege ...................................................................................10

7     II.      Document by Document Detailed Response to Defendant’s Objections .........12
      III. The Congressional Defendants Have Waived Their Right to Object to
8          Privilege on the Basis of Public Statements by Dr. Eastman, the Particulars
           of Chapman University’s Email System, or Any Other “Generalized”
9          Waiver Argument ..............................................................................................................................22
10    IV. Plaintiff Did Not Waive Privilege Through Any Public Statements ...................23
      V. Plaintiff Did Not Waive Privilege Through Use of Chapman University
11
         Email .........................................................................................................................................................25
12    VI. The Privilege Was Not Waived Through Inclusion of Third Parties on
          Communications .................................................................................................................................30
13
      VI. This Court Should Revisit its TRO Holding on the First Amendment ...............31
14    VII. This Court Should Revisit the TRO Holding on the Fourth Amendment ........36
15    CONCLUSION .....................................................................................................39
      CERTIFICATE OF SERVICE ..............................................................................41
16

17

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24

25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 2
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 3 of 41 Page ID #:1505




1                                         TABLE OF AUTHORITIES

2                      Cases
3    Admiral Inc. Co. v. U.S. Dist. Ct.,
      881 F.2d 1486 (9th Cir. 1989)...............................................................................10
4
     Americans for Prosperity Found. v. Bonta,
5
      141 S. Ct. 2373 (2021) ............................................................................................9
6
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7     459 U.S. 87 (1982) ..................................................................................................9

8    Carpenter v. United States,
      138 S. Ct. 2206 (2018) ..........................................................................................36
9
     Convertino v. U.S. Dep’t of Just.,
10    674 F. Supp. 2d 97 (D.D.C. 2009) ........................................................................25
11   Doe I v. George Washington Univ.,
      480 F. Supp. 3d 224 (D.D.C. 2020) ......................................................................25
12
     Goldstein v. Lees,
13    46 Cal.App. 3d 614 (1975)....................................................................................23
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      128 U.S. 464 (1888) ..............................................................................................30
15
     Katz v. United States,
16
      389 U.S. 347 (1967) ..............................................................................................36
17
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18    364 U.S. 372 (1960) ....................................................................................... 35, 36

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20
     Oklahoma Press Pub. Co. v. Walling,
21    327 U.S. 186 (1946) ....................................................................................... 35, 36
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      845 F.Supp 17 (D.C. Dist. Ct. 1994) ....................................................................36
23
     Trump v. Kemp,
24    No. 1:20-cv-05310 (N.D. Ga., filed Dec. 31, 2020) .............................................17
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 3
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 4 of 41 Page ID #:1506




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      No. 2020CV343255 (Fulton Cnty, Ga. Super. Ct., filed Dec. 4, 2020) ...............17
2
     Trump v. Thomp,
3     20 F.4th 10 (D.C. Cir. Dec. 9, 2021).....................................................................38
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      491 U.S. 554 (1989) ..............................................................................................15
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     United States v. Hirsch,
6
      803 F.2d 493 (9thCir. 1986)..................................................................................10
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     United States v. Long,
8     64 M.J. 57 (C.A.A.F. 2006) ........................................................................... 27, 28

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      422 U.S. 225 (1975) ..............................................................................................11
10
     United States v. Rumley,
11    345 U.S. 41 (1943) ................................................................................................32
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      968 F.3d 1107 (9th Cir. 2020)........................................................................ 17, 30
13
     Watkins v. United States,
14    354 U.S. 178 (1957) ...................................................................................... passim
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      647 F.2d 18 (9th Cir. 1981)...................................................................................24
16
                       Statutes
17
     CA Business and Professions Code § 6068(e)(1) ....................................................26
18

19   Cal. Evid. Code § 1015 ............................................................................................26

20   Cal. Evid. Code § 953 ..............................................................................................30

21   Cal. Evid. Code § 995 ..............................................................................................26

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      Participating in President’s Georgia Call, Forbes (Jan. 5, 2021)................... 9, 11
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 4
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 5 of 41 Page ID #:1507




1    Edsall, Thomas B., The Capitol Insurrection Was as Christian Nationalist as it
      Gets, New York Times (Jan. 28, 2021) ................................................................34
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     Florida Legislature Select Joint Committee on the 2000 Presidential Election,
3      Hearing on the Matter of the Appointment of Presidential Electors (Nov. 29,
       2000)......................................................................................................................29
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      of financial trouble, Washington Post (Feb. 10, 2021) .........................................34
6
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7     13, 2021)..................................................................................................................9

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9
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10
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11
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       2010 Utah L. Rev. 1277, 1293-94 (2010) .............................................................26
13
                        Rules
14
     California Rule of Professional Conduct Rule 1.6 ..................................................23
15
     California Rules of Professional Conduct 3-100(A) ...............................................26
16
     Feb R. Civ. Pro 26(b)(5)(A) .....................................................................................11
17
                        Constitutional Provisions
18
     U.S. Const. amend. I ........................................................................................ passim
19
     U.S. Const. amend. IV .......................................................................... 10, 35, 36, 38
20

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26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 5
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 6 of 41 Page ID #:1508




1
                                      INTRODUCTION
2
           Plaintiff, Dr. John Eastman, is a nationally-recognized constitutional
3
     attorney and scholar. He is frequently called upon by Congress and state
4
     legislatures to provide expert testimony on important constitutional issues. For
5
     more than 20 years, he was a law professor at Chapman University’s Fowler
6
     School of Law, holding an endowed professorship or chair for 15 of those years,
7
     and also served as the School’s Dean from 2007 to 2010.
8
           As previously noted in his reply brief in support of his application for
9
     temporary restraining order, Dr. Eastman’s employment contract with Chapman
10
     University specifically included representation of clients, both through the law
11
     school clinic and outside clients through the Center for Constitutional
12
     Jurisprudence, a public interest law firm he operated in affiliation with a separate
13
     non-profit organization, the Claremont Institute. Corrected Reply Br. (ECF #35) at
14
     14, citing Eastman Decl. ¶ 5 and Ex. 1. (employment contract in which Chapman
15
     expressly “acknowledges that, separate and apart from his employment as a
16
     Faculty Member, Faculty Member may also direct a Center for Constitutional
17
     Litigation ….” (emphasis added)); see also 2nd Eastman Decl. ¶ 3 (attached hereto
18
     as Exhibit 1).
19
           One such high-profile representation occurred in the aftermath of the 2000
20
     presidential election. Dr. Eastman was called upon by the Florida legislature to
21
     give expert testimony about constitutional issues arising under the elector and
22
     electoral college provisions of the Constitution; was retained by the Florida
23
     legislature to craft legislation that would protect that State’s electoral votes; and
24
     participated as an attorney on behalf of the George W. Bush presidential campaign
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 6
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 7 of 41 Page ID #:1509




1
     in post-election litigation in Florida. 2nd Eastman Decl. ¶ 4. With the full support
2
     and encouragement of the law school’s dean, Dr. Eastman utilized law students
3
     and library resources for these efforts, utilized his Chapman email address (which
4
     was also his professional bar address) and included his Chapman affiliation on the
5
     testimony he submitted to the Florida legislature. Dr. Eastman’s work was even
6
     touted by the Law School’s Rank and Tenure Committee when it recommended
7
     him for an early award of tenure, “as a once in a lifetime opportunity for a scholar
8
     with [Dr. Eastman’s] expertise to build a truly national reputation.” “It was in the
9
     Law School’s interest that Professor Eastman pursue this opportunity to the
10
     fullest,” the Committee added. 2nd Eastman Decl. ¶ 5.
11
           That was not the only post-election litigation in which Dr. Eastman was
12
     involved during his tenure as a Chapman law professor and in which, pursuant to
13
     common law school practice, he utilized his professional Chapman University
14
     address, phone, and email account. In 2008, and utilizing students in the Law
15
     School’s constitutional jurisprudence clinic that Dr. Eastman co-directed, Dr.
16
     Eastman filed a brief in a post-election legal challenge to a California ballot
17
     initiative, using his professional Chapman University address. Id. ¶ 13. Other law
18
     professors, not affiliated with any Chapman law school clinic, filed a brief in
19
     support of the other side in the post-election dispute, explicitly on behalf of
20
     “individual Chapman University organizations, faculty, staff, and students,”
21
     thereby conveying the impression that the University itself was taking a position in
22
     that post-election legal challenge. Id. ¶ 14. Draft guidelines issued by the
23
     University’s general counsel thereafter proposed that in the future, “The words
24

25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 7
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 8 of 41 Page ID #:1510




1
     ‘Chapman University’ may not appear on the brief except as part of a c/o address
2
     for the author.” Id. ¶ 15 (emphasis added).
3
           Because of his election law and constitutional expertise, Dr. Eastman was
4
     retained by then- President Trump, in his capacity as a candidate for re-election, as
5
     well as Trump’s official campaign committee, Donald J. Trump for President, Inc.,
6
     in the fall of 2020 to represent President Trump “in federal litigation matters in
7
     relation to the 2020 presidential general election, including election matters related
8
     to the Electoral College.” Id. ¶¶ 23, 24. For purposes of the January 4-7, 2021,
9
     documents at issue in this brief, that engagement letter clearly demonstrates the
10
     existence of an attorney-client relationship between Dr. Eastman and Candidate
11
     Trump and the Trump campaign committee.
12
           But to anticipate and hopefully forestall future disputes about materials
13
     generated prior to that formal engagement letter, Dr. Eastman’s election-related
14
     work on behalf of the President began three months earlier. On September 3,
15
     2020, Dr. Eastman was invited by Cleta Mitchell to join an Election Integrity
16
     Working Group to begin preparing for anticipated post-election litigation. Ms.
17
     Mitchell, one of the nation’s preeminent election law attorneys, had been asked by
18
     President Trump in late August 2020 to undertake such an effort. Id. ¶ 25. After
19
     joining the Election Integrity Working Group, Dr. Eastman began conducting legal
20
     research and collaborating with academic advisors and other supporters of the
21
     President about the myriad number of factual and legal issues he anticipated might
22
     arise following the election. Id. ¶ 26. All of that work is therefore classic attorney
23
     work product.
24

25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 8
Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 9 of 41 Page ID #:1511




1
            Many of the statistical experts and others with whom Dr. Eastman
2
     collaborated on his work product requested anonymity lest, in the hyper-partisan
3
     times in which we find ourselves, their livelihoods be put into jeopardy and they
4
     and/or their families be harassed (or worse). Id. ¶ 29. As the examples of Dr.
5
     Eastman himself and his co-counsel, Cleta Mitchell, demonstrate, these were not
6
     (and are not) unfounded speculative fears. Dr. Eastman’s classes at the University
7
     of Colorado, where he was serving as a visiting professor, were abruptly canceled
8
     in January 2021 and he was banned from performing outreach or speaking at the
9
     University, and he was pressured to resign from his tenured position at Chapman
10
     University that same month, for his work on behalf of President Trump. See, e.g.,
11
     Michael T. Nietzel, University of Colorado Takes Action Against John Eastman,
12
     Forbes (Jan. 23, 2021);1 Michael T. Nietzel, John Eastman Retires from Chapman
13
     University, Forbes (Jan. 13, 2021).2 Cleta Mitchell’s long relationship as a partner
14
     with the law firm of Foley & Lardner likewise came to an abrupt end when her
15
     representation of President Trump became public. See, e.g., Alison Durkee, Trump
16
     Attorney Cleta Mitchell Resigns From Law Firm After Participating in President’s
17
     Georgia Call, Forbes (Jan. 5, 2021).3 The concerns about loss of livelihoods and
18
     risks of harassment and even violence expressed by several of the people with
19
     whom Dr. Eastman was collaborating in his preparation of work product give rise
20
     to significant First Amendment concerns should the identities of those individuals
21
     1
       Available at https://www.forbes.com/sites/michaeltnietzel/2021/01/23/university-of-colorado-
22   takes-action-against-john-eastman/?sh=3eca7a8e2696.
     2
23     Available at https://www.forbes.com/sites/michaeltnietzel/2021/01/13/john-eastman-retires-
     from-chapman-university/?sh=bdcd04865e76.
24   3
      Available at https://www.forbes.com/sites/alisondurkee/2021/01/05/trump-attorney-cleta-
     mitchell-resigns-from-law-firm-after-participating-in-presidents-georgia-phone-
25   call/?sh=85752711f61f.
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 9
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 10 of 41 Page ID
                                      #:1512



1
     be made public. See, e.g., NAACP v. Alabama, 357 U.S. 449 (1958); Brown v.
2
     Socialist Workers '74 Campaign Comm. (Ohio), 459 U.S. 87 (1982); Americans for
3
     Prosperity Found. v. Bonta, 141 S. Ct. 2373 (2021). By ordering that Dr.
4
     Eastman’s privilege logs, and the Select Committee’s objections, be filed under
5
     seal, this Court has already recognized the privacy concerns at issue.
6
             Finally, the sheer breadth of the Select Committee’s subpoena at issue here
7
     demonstrates that the materials the Committee is seeking are far removed from any
8
     valid legislative purpose. All communications related in any way to the election
9
     aims at communications that are core political speech protected by the First
10
     Amendment. It also is the very definition of a “fishing expedition,” designed not
11
     to develop recommendations for legislation but to try to find some evidence that
12
     might implicate Dr. Eastman in some as-yet-unspecified crime. Such a subpoena is
13
     tantamount to a general warrant, the very thing that the Fourth Amendment was
14
     designed to prevent. Because Dr. Eastman has not previously had the opportunity
15
     to brief the significant First and Fourth Amendment issues at stake here, he does so
16
     below.
17
                                         ARGUMENT
18
        I.      The Materials Identified in Plaintiff’s Log are All Covered by
19
                Attorney Client and/or Work Product Privilege
20
             Under the attorney-client privilege, confidential communications made by a
21
     client to an attorney to obtain legal services are protected from disclosure. United
22
     States v. Hirsch, 803 F.2d 493, 496 (9thCir. 1986).
23
             The work product doctrine is a qualified privilege that protects from
24
     discovery documents and tangible things prepared by a party or his representative
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 10
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 11 of 41 Page ID
                                      #:1513



1
     in anticipation of litigation. Admiral Inc. Co. v. U.S. Dist. Ct., 881 F.2d 1486,
2
     1494 (9th Cir. 1989). The doctrine protects “mental processes of the attorney
3
     providing a privileged area within which he can analyze and prepare his client’s
4
     case. United States v. Nables, 422 U.S. 225, 237-39 (1975). It protects material
5
     prepared by agents for the attorney as well as those prepared by the attorney
6
     himself. Id. at 238-39.
7
           The congressional defendants have already acknowledged in writing that Dr.
8
     Eastman “served as an attorney for President Trump in his capacity for re-
9
     election.” Ex. 2. Dr. Eastman has provided further details about his representation
10
     of President Trump in a declaration to this Court. Ex. 1, ¶¶ 19-30. The attorney-
11
     client relationship between Dr. Eastman and President Trump should be beyond
12
     dispute.
13
           The communications in Dr. Eastman’s privilege log are covered by attorney
14
     client privilege and/or work product. As stated in Dr. Eastman’s declaration, his
15
     representation of then-President Trump covered “federal litigation matters in
16
     relation to the 2020 presidential general election, including election matters related
17
     to the Electoral College.” Ex. 1, ¶ 23 and Ex. A.
18
           As provided for in Feb R. Civ. Pro 26(b)(5)(A), plaintiff has provided
19
     defendants a series of logs of privileged materials “in a manner that, without
20
     revealing information itself privileged or protected, will allow the other parties to
21
     assess the claim.” As the notes to the various amendments of Rule 16 make clear,
22
     if there is a dispute about the privilege, the privileged materials themselves should
23
     be submitted for in camera review to protect the privilege. See, e.g., Rule 26,
24
     Commentary to 1983 amendments (“Nor does the rule require a party or an
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 11
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 12 of 41 Page ID
                                      #:1514



1
     attorney to disclose privileged communications or work product…[t]he provisions
2
     of Rule 26(c), including appropriate orders after in camera inspection by the court,
3
     remain available to protect a party claiming privilege or work product protection.”)
4
              Pursuant to this Court’s order of January 26, 2021 (ECF #50), Plaintiff has
5
     already submitted the challenged documents themselves for in camera review. For
6
     further elaboration, plaintiff has submitted an in camera supplement to this filing
7
     to address some specifics about the documents previously produced to this Court in
8
     camera.
9
        II.      Document by Document Detailed Response to Defendant’s
10
                 Objections
11
              The Select Committee has objected to 132 of the 166 documents contained
12
     in Plaintiff’s privilege logs for January 4-7, 2021, documents. In all but 4 of those
13
     132 documents (Chapman005513, Chapman005514, Chapman005667, and
14
     Chapman005704), the Select Committee has objected on the grounds that there
15
     was insufficient information to determine whether the client was President Trump
16
     or the Donald J. Trump for President, Inc. campaign committee. That issue is
17
     addressed globally in section I above, and involves the following documents:
18
     Chapman004493      Chapman004547     Chapman004594    Chapman004713    Chapman004766
19
     Chapman004494      Chapman004549     Chapman004631    Chapman004720    Chapman004767
20
     Chapman004496      Chapman004551     Chapman004632    Chapman004721    Chapman004788
21
     Chapman004539      Chapman004553     Chapman004669    Chapman004722    Chapman004789
22
     Chapman004540      Chapman004555     Chapman004670    Chapman004723    Chapman004790
23
     Chapman004541      Chapman004556     Chapman004707    Chapman004744    Chapman004791
24
     Chapman004545      Chapman004593     Chapman004708    Chapman004745    Chapman004792
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 12
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 13 of 41 Page ID
                                      #:1515



1
     Chapman004793     Chapman005017     Chapman005114     Chapman005261   Chapman005492
2
     Chapman004794     Chapman005018     Chapman005130     Chapman005268   Chapman005498
3
     Chapman004827     Chapman005023     Chapman005131     Chapman005283   Chapman005510
4
     Chapman004828     Chapman005024     Chapman005134     Chapman005299   Chapman005515
5
     Chapman004833     Chapman005045     Chapman005135     Chapman005300   Chapman005519
6
     Chapman004834     Chapman005046     Chapman005154     Chapman005329   Chapman005547
7
     Chapman004835     Chapman005061     Chapman005155     Chapman005338   Chapman005551
8
     Chapman004839     Chapman005064     Chapman005156     Chapman005406   Chapman005578
9
     Chapman004841     Chapman005066     Chapman005157     Chapman005412   Chapman005668
10
     Chapman004963     Chapman005067     Chapman005158     Chapman005423   Chapman005672
11
     Chapman004964     Chapman005068     Chapman005159     Chapman005424   Chapman005676
12
     Chapman004976     Chapman005087     Chapman005160     Chapman005433   Chapman005677
13
     Chapman004977     Chapman005088     Chapman005161     Chapman005477   Chapman005678
14
     Chapman004979     Chapman005091     Chapman005177     Chapman005478   Chapman005680
15
     Chapman004990     Chapman005094     Chapman005178     Chapman005484   Chapman005719
16
     Chapman004992     Chapman005096     Chapman005248     Chapman005488   Chapman005720
17
     Chapman005011     Chapman005097     Chapman005249     Chapman005489   Chapman005722
18
     Chapman005012     Chapman005101     Chapman005251     Chapman005490
19
     Chapman005014     Chapman005113     Chapman005252     Chapman005491
20
           The Select Committee objected to 130 of the 132 documents on the ground
21
     that they were supposedly from an “Unauthorized use of Chapman University
22
     email account” or that there had been a “subject matter waiver.” (The Selection
23
     Committee has advised counsel for Plaintiff that it has withdrawn its objection to
24
     the remaining two documents, Chapman005667, and Chapman005704). The
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 13
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 14 of 41 Page ID
                                      #:1516




1
     “unauthorized use” assertion is rebutted globally in Section V below; the “subject-
2
     matter waiver” objection is rebutted globally in Section IV below. Both objections
3
     involve the following documents:
4
     Chapman004493     Chapman004670     Chapman004794     Chapman005017   Chapman005113
5
     Chapman004494     Chapman004707     Chapman004827     Chapman005018   Chapman005114
6
     Chapman004496     Chapman004708     Chapman004828     Chapman005023   Chapman005130
7
     Chapman004539     Chapman004713     Chapman004833     Chapman005024   Chapman005131
8
     Chapman004540     Chapman004720     Chapman004834     Chapman005045   Chapman005134
9
     Chapman004541     Chapman004721     Chapman004835     Chapman005046   Chapman005135
10
     Chapman004545     Chapman004722     Chapman004839     Chapman005061   Chapman005154
11
     Chapman004547     Chapman004723     Chapman004841     Chapman005064   Chapman005155
12
     Chapman004549     Chapman004744     Chapman004963     Chapman005066   Chapman005156
13
     Chapman004551     Chapman004745     Chapman004964     Chapman005067   Chapman005157
14
     Chapman004553     Chapman004766     Chapman004976     Chapman005068   Chapman005158
15
     Chapman004555     Chapman004767     Chapman004977     Chapman005087   Chapman005159
16
     Chapman004556     Chapman004788     Chapman004979     Chapman005088   Chapman005160
17
     Chapman004593     Chapman004789     Chapman004990     Chapman005091   Chapman005161
18
     Chapman004594     Chapman004790     Chapman004992     Chapman005094   Chapman005177
19
     Chapman004631     Chapman004791     Chapman005011     Chapman005096   Chapman005178
20
     Chapman004632     Chapman004792     Chapman005012     Chapman005097   Chapman005248
21
     Chapman004669     Chapman004793     Chapman005014     Chapman005101   Chapman005249
22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 14
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 15 of 41 Page ID
                                      #:1517



1
     Chapman005251     Chapman005338     Chapman005484     Chapman005513   Chapman005672
2
     Chapman005252     Chapman005406     Chapman005488     Chapman005514   Chapman005676
3
     Chapman005261     Chapman005412     Chapman005489     Chapman005515   Chapman005677
4
     Chapman005268     Chapman005423     Chapman005490     Chapman005519   Chapman005678
5
     Chapman005283     Chapman005424     Chapman005491     Chapman005547   Chapman005680
6
     Chapman005299     Chapman005433     Chapman005492     Chapman005551   Chapman005719
7
     Chapman005300     Chapman005477     Chapman005498     Chapman005578   Chapman005720
8
     Chapman005329     Chapman005478     Chapman005510     Chapman005668   Chapman005722
9
           The Select Committee also objected to all of the above documents on the
10
     ground that the information provided is insufficient to determine whether an
11
     exception to privilege, “such as crime-fraud,” is applicable. The Committee has
12
     offered no evidence, much less a "showing of a factual basis adequate to support a
13
     good faith belief" that an in camera review may reveal the existence of a crime-
14
     fraud exception, as required by U.S. v. Zolin, 491 U.S. 554, 572 (1989). An in
15
     camera review on this ground is therefore inappropriate.
16
           The Select Committee objected to 5 of the 132 documents on the ground that
17
     they contained no “Sender” information. Each case appears to be the result of a
18
     glitch in the e-discovery platform’s upload of the *.PST file from Chapman, which
19
     truncated the sender information. In each case, a duplicate of the document with
20
     the “sender” information included immediately follows the truncated document.
21
     Those five documents are:
22
     Chapman004670     Chapman004963     Chapman004964     Chapman005248   Chapman005249
23

24

25   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 15
26
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 16 of 41 Page ID
                                      #:1518



1
           The Select Committee objected to 11 of the 132 documents on the ground
2
     that work product protection were “overcome by substantial/compelling need of
3
     Select Committee.” Yet it has offered no argument or evidence of the Select
4
     Committee’s need for any of these particular documents in pursuit of any valid
5
     legislative purpose, much lass a need that would qualify as substantial or
6
     compelling in support of a legislative purpose. Moreover, the Select Committee
7
     agreed to the process of privilege review by Dr. Eastman and assessment of
8
     privilege by the Court that is being undertaken; the Select Committee should not be
9
     allowed to make that become an exercise in futility by its own assertion, after the
10
     fact, that it will override the Court’s determination of privilege. The documents
11
     objected to by the Select Committee on the ground that it has a substantial or
12
     compelling need for Dr. Eastman’s work product are as follows:
13
     Chapman005023     Chapman005088     Chapman005477     Chapman005513
14
     Chapman005061     Chapman005178     Chapman005478     Chapman005514
15
     Chapman005087     Chapman005406     Chapman005510
16
           The Select Committee objected to 90 of the 132 documents on the ground
17
     that they “include persons apparently outside the attorney-client relationship.” The
18
     people in 60 of those 90 documents whom the Select Committee believed to be
19
     “apparently outside the attorney-client relationship” were in fact attorneys working
20
     with the Trump legal team or in common interest with the Trump legal team.
21
     Those are:
22
                             , an attorney working with               ’s team on
23
     Trump’s legal efforts, and whose email,              @donaldtrump.com, reflects his
24

25   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 16
26
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 17 of 41 Page ID
                                      #:1519




1
     affiliation with the Trump campaign. The Select Committee’s objected to
2
              ’s inclusion on communications for the following documents:
3
     Chapman004707     Chapman004789     Chapman004964     Chapman005014    Chapman005261
4
     Chapman004722     Chapman004790     Chapman004976     Chapman005023    Chapman005268
5
     Chapman004723     Chapman004791     Chapman004977     Chapman005024    Chapman005484
6
     Chapman004744     Chapman004792     Chapman004979     Chapman005061    Chapman005510
7
     Chapman004745     Chapman004833     Chapman004990     Chapman005248    Chapman005578
8
     Chapman004766     Chapman004834     Chapman004992     Chapman005249
9
     Chapman004767     Chapman004835     Chapman005011     Chapman005251
10
     Chapman004788     Chapman004963     Chapman005012     Chapman005252
11
                           , an attorney who was working, at President Trump’s behest,
12
     on anticipated election litigation as early as late August 2020.      was also
13
     involved with the post-election litigation efforts, primarily in Georgia, including
14
     Trump v. Raffensperger, No. 2020CV343255 (Fulton Cnty, Ga. Super. Ct., filed
15
     Dec. 4, 2020); and Trump v. Kemp, No. 1:20-cv-05310 (N.D. Ga., filed Dec. 31,
16
     2020). Those documents are:
17
     Chapman004493     Chapman004793     Chapman004794
18
                            , an attorney who served as                    for the Fulton
19
     County Republican Party and                                 for the Georgia
20
     Republican Party. On information and belief, he was coordinating with
21
              and other members of the Trump legal team on a common interest
22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 17
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 18 of 41 Page ID
                                      #:1520




1
     understanding, but even if not, he was clearly not an “adversary” or “conduit to an
2
     adversary” who’s inclusion would constitute a waiver of a work product privilege.
3
     United States v. Sanmina Corp., 968 F.3d 1107, 1120 (9th Cir. 2020). The
4
     documents objected to by the Select Committee because                 was on the
5
     distribution list are Chapman005478 and Chapman005478, and the documents that
6
     included both Mitchell and Kaufman are:
7
     Chapman004539     Chapman004545     Chapman004555     Chapman004594    Chapman004669
8
     Chapman004540     Chapman004549     Chapman004556     Chapman004631
9
     Chapman004541     Chapman004551     Chapman004593     Chapman004632
10
                                                    were both attorneys with the Trump
11
     campaign, as reflected by their @donaldtrump.com email addresses. The
12
     documents objected to by the Select Committee because                         were
13
     on the distribution list are Chapman004549 and Chapman004551.
14
                         was one of the many volunteer attorneys working with the
15
     Trump legal team. The documents objected to by the Select Committee because
16
            was on the distribution list are Chapman005299 and Chapman005300.
17
                          is an attorney who reached out to Dr. Eastman offering to
18
     serve as a volunteer attorney helping with his efforts on behalf of President Trump.
19
     The email exchange between Dr. Eastman and                  contains a work product
20
     discussion. The documents objected to by the Select Committee because
21

22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 18
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 19 of 41 Page ID
                                      #:1521




1
     was either the sender or recipient are Chapman005423, Chapman005424, and
2
     Chapman005433.
3
           Non-Attorney Work Product
4
           The person in another 8 of the 90 documents whom the Select Committee
5
     believed to be “apparently outside the attorney-client relationship,”               , is
6
     a physicist, providing expert advice to Dr. Eastman on behalf of a team of
7
     statistical experts that were conducting statistical analyses of election returns in a
8
     number of jurisdictions to aid Dr. Eastman and others on the Trump legal team
9
     with their work product in anticipation of litigation. The documents objected to by
10
     the Select Committee because          was either the sender or recipient are as
11
     follows:
12
     Chapman004547         Chapman004841          Chapman005490          Chapman005492
13
     Chapman004839         Chapman005488          Chapman005491          Chapman005498
14
           The person in another 6 of the 90 documents whom the Select Committee
15
     believed to be “apparently outside the attorney-client relationship,”
16
                             , is            , a member of a citizen volunteer
17
     organization, the “Every Legal Vote Coalition,” who was following up with Dr.
18
     Eastman about a meeting he had had with forensic experts who had information
19
     that might have been useful in anticipated litigation. The documents objected to by
20
     the Select Committee because            was either the sender or recipient are as
21
     follows:
22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 19
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 20 of 41 Page ID
                                      #:1522




1
     Chapman005668      Chapman005676    Chapman005678
2
     Chapman005672      Chapman005677    Chapman005680
3
           Another 8 of the 90 documents whom the Select Committee believed to be
4
     “apparently outside the attorney-client relationship” were communications with
5
     scholars affiliated with The Claremont Institute where Dr. Eastman is a Senior
6
     Fellow:
7
                                                         They all worked with Dr.
8
     Eastman, either as sounding board or by offering ideas of their own, as Dr.
9
     Eastman was developing work product in anticipation of election litigation. Two
10
     other individuals,                    , a former                       with whom
11
     Dr. Eastman was working on election integrity efforts, and                      , an
12
     attorney and the                                                      , were copied
13
     on one of the documents (Chapman005515), but because neither was an adversary
14
     nor a conduit to an adversary, their inclusion on the email exchange does not
15
     destroy the work product privilege. United States v. Sanmina Corp., 968 F.3d
16
     1107, 1120 (9th Cir. 2020). The documents objected to by the Select Committee
17
     because any of these individuals were either the sender or recipient are as follows:
18
     Chapman004494          Chapman005283          Chapman005338        Chapman005515
19
     Chapman004496          Chapman005329          Chapman005489        Chapman005519
20
           Four of the documents were emails or attachments sent by                   ,a
21
     data technology expert who was working with Dr. Eastman on work product in
22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 20
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 21 of 41 Page ID
                                      #:1523




1
     anticipation of litigation. Recipients were                 , one of the volunteer
2
     Trump attorneys described above, and                        , a telecommunications
3
     expert who was working with              . The documents objected to by the Select
4
     Committee because any of these individuals were either the sender or recipient are
5
     as follows:
6
     Chapman005130          Chapman005131          Chapman005134            Chapman005135
7
           Two of the documents – an email (Chapman005547) and an attached memo
8
     (Chapman005551) – were from                       , a former potential client of Dr.
9
     Eastman’s who had been communicating back and forth with Dr. Eastman since
10
     before the election about legal theories in anticipating of electoral college disputes
11
     and anticipated litigation over them. The exchanges contain mental impressions
12
     from Dr. Eastman about the legal theories and are therefore work product.
13
           Finally, there are 24 documents for which we are withdrawing our assertion
14
     of privilege. Most were simply transmittals of filings in pending litigation that do
15
     not convey mental impressions. In addition, we inadvertently claimed Attorney-
16
     Client and Work-Product privilege over an email (Chapman005087) an attachment
17
     (Chapman005088) because the email recipients included                         and other
18
     members of the President’s staff and legal team. On further review, we withdraw
19
     our claims of privilege over these documents and will include them in the next
20
     production.
21
     Chapman004493     Chapman004539     Chapman004540     Chapman004541       Chapman004545
22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 21
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 22 of 41 Page ID
                                      #:1524




1
     Chapman004549     Chapman004593     Chapman004669     Chapman005177    Chapman005478
2
     Chapman004551     Chapman004594     Chapman004670     Chapman005178    Chapman005513
3
     Chapman004555     Chapman004631     Chapman005087     Chapman005406    Chapman005514
4
     Chapman004556     Chapman004632     Chapman005088     Chapman005477
5
        III.   The Congressional Defendants Have Waived Their Right to Object
6
               to Privilege on the Basis of Public Statements by Dr. Eastman, the
7
               Particulars of Chapman University’s Email System, or Any Other
8
               “Generalized” Waiver Argument
9
           At the temporary restraining order hearing in this case, the congressional
10
     defendants initially argued that no privilege could exist in any of the Chapman
11
     materials. They argued that any attorney client privilege that existed in the
12
     Chapman materials had been waived by Dr. Eastman’s public statements about
13
     former President Trump. ECF 23-1 at 20-21. They also argued that use of
14
     Chapman’s email system constituted a waiver. Id. at 17-19.
15
           However, following initial argument from both parties and some questioning
16
     from the Court, the congressional defendants conceded a privilege log was
17
     appropriate. Counsel for the congressional defendants stated:
18
           MR. LETTER: Your Honor, I do want to say if this [a privilege review] is
19
           considered something that is important to do now, we would certainly
20
           entertain it. We would want – we think it would be essential that if the
21

22

23
     PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 22
24

25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 23 of 41 Page ID
                                      #:1525



1
               material is provided to Professor Eastman now there be a very quick
2
               schedule.
3
               THE COURT: Let’s stop at that point for a moment because I want to
4
               repeat back what I heard, and that is you would be willing at the present time
5
               to submit these materials to Dr. Eastman with the expectation that this would
6
               be a short turnaround time he could review these. Is that correct?
7
               MR. LETTER: Yes, Your Honor--
8
     ECF 44 (transcript of January 24, 2022 hearing) at 45.
9
               By conceding that a privilege log is appropriate, the congressional
10
     defendants have necessarily conceded the possibility that at least some privileged
11
     content exists in the Chapman materials. They have waived their claim that any
12
     “generalized” waiver applies to the Chapman materials.
13
        IV.       Plaintiff Did Not Waive Privilege Through Any Public Statements
14
               Even if the congressional defendants had not abandoned their “general
15
     waiver” arguments, it is clear that no public statements by Dr. Eastman effected
16
     such a waiver. As already briefed and argued to this Court in connection with the
17
     temporary restraining order hearing, Dr. Eastman did not waive privilege through
18
     any of his public statements.
19
               As an initial matter, it is by no means clear that any statements by Dr.
20
     Eastman about President Trump revealed any privileged material, let alone
21
     constituted a complete waiver of such material, as the defendants contend. A
22
     lawyer’s duty to protect a client’s information is broader than the duty to protect
23
     privileged information. As California Rule of Professional Conduct Rule 1.6
24
     states:
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 23
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 24 of 41 Page ID
                                      #:1526



1
            The principle of lawyer-client confidentiality applies to information a
2
            lawyer acquires by virtue of the representation, whatever its source,
3
            and encompasses matters communicated in confidence by the client,
4
            and therefore protected by the lawyer-client privilege, matters
5
            protected by the work product doctrine, and matters protected under
6
            ethical standards of confidentiality, as established in law, rule and
7
            policy.
8
     Id. at n. 2 (and cases cited therein, e.g. Goldstein v. Lees, 46 Cal.App. 3d 614, 621
9
     (1975) (italics added).
10
            The statements about President Trump attributed to Dr. Eastman by the
11
     defendants make no reference to privilege. See, e.g., Resp. to TRO at 28 (Dr.
12
     Eastman’s statement to Bob Woodward that the President had authorized him to
13
     “talk about these things.”). In fact, the defendants are only able to give Dr.
14
     Eastman’s public statements the superficial appearance of privilege waivers by
15
     omitting highly relevant facts. For example, the defendants attempt to characterize
16
     Dr. Eastman’s statement on the Peter Boyles Show that he had authority from the
17
     President to discuss a “private conversation.” Resp. at 20. Conveniently omitted
18
     by defendants are Dr. Eastman’s statements in the very same interview that the
19
     conversation in question occurred in the presence of three non-clients in addition to
20
     the President.4 The “private conversation” of which Dr. Eastman spoke was
21
     therefore obviously unprivileged. The defendants attempt to characterize Dr.
22
     Eastman’s discussion of a non-privileged conversation as somehow a waiver of
23   4
      To hear Dr. Eastman’s description of this conversation, the reader is referred to minutes 12:00 –
24   15:00 of the podcast cited in the defendants’ brief. Peter Boyles Show, 710KNUS News/Talk
     (May 5, 2021) (available https://omny.fm/shows/peter-boyles-show/peter-boyles-may-5-8am-1).
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 24
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 25 of 41 Page ID
                                      #:1527



1
     attorney client privilege is misleading in the extreme. At most, the statements
2
     show that the President had authorized Dr. Eastman to disclose a limited amount of
3
     confidential (as opposed to privileged) information. They provide this Court no
4
     basis to hold that Dr. Eastman has made any sort of privilege waiver with respect
5
     to former President Trump.
6
             Even if Dr. Eastman had disclosed some sort of privileged information about
7
     the former President, it would be at most a limited waiver. Courts have long
8
     recognized that disclosure of privileged information on a particular subject does
9
     not necessarily imply a complete waiver of the privilege. See, e.g., Weil v.
10
     Investment/Indicators, Research and Management, Inc., 647 F.2d 18, 25 (9th Cir.
11
     1981) (“We conclude, therefore, that the fund has waived its attorney-client
12
     privilege....only as to communications about the matter actually disclosed.”). It is
13
     publicly known that Dr. Eastman represented President Trump in several matters
14
     during the subpoena period. The government has merely quoted statements from
15
     Dr. Eastman relating to a legal memorandum and an unspecified “private
16
     conversation.” No reasonable interpretation of these statements could construe
17
     them as a total waiver of privilege between Dr. Eastman and the former president.
18
        V.      Plaintiff Did Not Waive Privilege Through Use of Chapman
19
                University Email
20
             As stated above, the congressional defendants have waived the argument
21
     that there was a wholesale waiver of privilege through use of school email.
22
     However, even without this concession, it is clear that use of the email system was
23
     not a waiver.
24

25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 25
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 26 of 41 Page ID
                                      #:1528



1
           The congressional defendants relied during the TRO proceedings primarily
2
     on Doe I v. George Washington Univ., 480 F. Supp. 3d 224 (D.D.C. 2020), which
3
     unlike the present case, involved use by students of the University’s email system,
4
     not use by law professors whose contractual duties include client representations.
5
     That distinction is of great significance, as it supports Dr. Eastman’s claim that he
6
     had a subjective expectation of confidentiality in his communications with or
7
     related to clients and prospective clients, and that his expectation of confidentiality
8
     is objectively reasonable. Id. at 226. The more relevant case is therefore the other
9
     case relied upon (somewhat inexplicably) by the congressional defendants,
10
     Convertino v. U.S. Dep’t of Just., 674 F. Supp. 2d 97 (D.D.C. 2009). In that case,
11
     the same court that decided Doe I held that a Department of Justice employee’s
12
     emails to his outside private attorney, using the Department’s email system,
13
     retained their attorney-client privilege. “Although DOJ does have access to
14
     personal e-mails sent through his account, Mr. Turkel was unaware that they would
15
     be regularly accessing and saving emails sent from his account,” the Court noted.
16
     Id. at 110. As Chapman itself acknowledges, and just like the DOJ in Convertino,
17
     “Chapman does not make a practice of monitoring email” even though it reserves
18
     the right the right to retrieve the contents of emails “for legitimate reasons, such as
19
     to find lost messages, to comply with investigations of wrongful acts, to respond to
20
     subpoenas, or to recover from system failure.” DuMontelle Decl. ¶ 5. It is Dr.
21
     Eastman’s contention, and his subjective expectation, that such “legitimate
22
     reasons” would not include the University accessing emails protected by attorney-
23
     client and work product privileges without his authorization. Were the rule
24
     otherwise, then every single clinical professor—whether in the law school or in
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 26
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 27 of 41 Page ID
                                      #:1529



1
     other departments with clients or patients—would be in breach of their ethical
2
     duties to protect client and patient confidences. See, e.g., California Rules of
3
     Professional Conduct 3-100(A) (“A member shall not reveal information protected
4
     from disclosure by California Business and Professions Code § 6068, subdivision
5
     (e)(1) without the informed consent of the client, …”); Cal. Evid. Code § 995
6
     (describing physician’s obligation to assert privilege on behalf of his patient’s
7
     confidential communications); Cal. Evid. Code § 1015 (same re psychotherapist
8
     obligation). See also, generally, Gregory C. Sisk & Nicholas Halbur, A Ticking
9
     Time Bomb? University Data Privacy Policies and Attorney-Client Confidentiality
10
     in Law School Settings, 2010 Utah L. Rev. 1277, 1293-94 (2010) (concluding that
11
     “attorneys practicing in the university law school environment may well be able to
12
     distinguish [cases in corporate settings] and successfully overcome a challenge to
13
     the privilege, even if the university does maintain a formal data privacy policy
14
     reciting that users have no expectation of privacy in data on university computers
15
     or messages sent through university networks.)
16
            That Chapman has a policy—and perhaps even a banner warning5—
17
     announcing that emails sent across its system are subject to monitoring for certain
18
     specified purposes does not defeat Dr. Eastman’s reasonable expectation of
19
     confidentiality. Other cases involving similar banner warnings in circumstances
20
     where the expectation of privacy would be even lower than in a University setting
21
     with its strong commitment to academic freedom, have held that such a warning
22   5
       Dr. Eastman disputes Chapman’s claim that a “splash screen” message appeared “every time
23   Eastman logged on to Chapman’s network.” During his employment at Chapman, Dr. Eastman
     used a laptop computer, connecting through the University’s VPN. To his recollection, no such
24   message ever appeared when he logged on to the network in that fashion, or when he accessed
     his Chapman email account via Outlook.
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 27
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 28 of 41 Page ID
                                      #:1530



1
     does not necessarily give rise to a waiver of confidentiality. United States v. Long,
2
     64 M.J. 57 (C.A.A.F. 2006), is particularly salient. There, the Court of Appeals for
3
     the Armed Forces held that a member of the military had a reasonable expectation
4
     of privacy in emails she sent and received using the Department of Defense’s email
5
     system, and which were stored on that system. There, like Chapman claims to be
6
     the case here, a banner appeared anytime a user logged on to the system notifying
7
     the user that the system was “provided only for authorized U.S. Government use”
8
     and that it “may be monitored for all lawful purposes, including to ensure that their
9
     use is authorized, for management of the system, to facilitate protection against
10
     unauthorized access, and to verify security procedures, survivability and
11
     operational security.” Id. at 60. Yet the Court nevertheless upheld the service
12
     member’s expectation of privacy in the personal emails she sent using the
13
     government system. There, as here, each individual user “had his or her own
14
     unique password known only to them.” Id. There, as here, users were told to
15
     change passwords frequently. Id. There, as here, network administrators did not
16
     have access to individual users’ passwords, id., but could access the entire
17
     network, including personal email. If that was good enough for the expectation of
18
     confidentiality to be deemed reasonable in the context of the military and highly-
19
     secure Department of Defense computers, surely it is sufficient for Dr. Eastman’s
20
     expectation of confidentiality to be deemed reasonable in the context of a private
21
     University in which his duties included representation of clinic and other clients.
22
           Defendant Chapman has previously intimated that Dr. Eastman’s use of the
23
     University’s email system was “unauthorized.” Chapman Opp. at 4. The
24
     congressional defendants take that intimation as an “indisputably” proven fact.
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 28
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 29 of 41 Page ID
                                      #:1531



1
     Cong. Opp. at 22. It is not. Dr. Eastman’s duties specifically included
2
     representation of clients, both through the law school clinic and outside clients
3
     through the Center for Constitutional Jurisprudence, a public interest law firm he
4
     operated in affiliation with a separate non-profit organization, the Claremont
5
     Institute. Eastman Decl. ¶ 5 and Ex. 1. (employment contract in which Chapman
6
     expressly “acknowledges that, separate and apart from his employment as a
7
     Faculty Member, Faculty Member may also direct a Center for Constitutional
8
     Litigation ….” (emphasis added)). Like other law faculty, Dr. Eastman’s
9
     promotion and tenure decisions, and his annual performance reviews and merit pay
10
     increases, were based in part on scholarship and service that expressly included
11
     representation of outside clients in matters related to his scholarship or that served
12
     the public interest. That Dr. Eastman’s election integrity work at issue here easily
13
     qualified under established University practice is not speculative, but fully
14
     supported by nearly identical outside work Dr. Eastman performed early in his
15
     career at Chapman in the aftermath of the 2000 presidential election. Then, as
16
     now, he provided pro bono legal work in election challenges,6 gave expert
17

18
     6
      Chapman’s General Counsel intimates that such work may run afoul of IRS prohibitions on
19   electioneering activity. DuMontelle Decl. ¶ 3; see also Chapman Br. at 3 (ECF #??). But the
     IRS prohibits non-profit organizations like Chapman “from directly or indirectly participating in,
20   or intervening in, any political campaign on behalf of (or in opposition to) any candidate for
     elective public office.” It identifies “[c]ontributions to political campaign funds or public
21   statements of position (verbal or written) made on behalf of the organization in favor of or in
     opposition to any candidate for public office” as things that “clearly violate the prohibition
22   against political campaign activity.” It does not mention post-election legal disputes over
     election integrity, and we are aware of no instance where the IRS has challenged a University’s
23   non-profit status because its law faculty have participated as counsel in post-election litigation
     despite that having occurred in some rather high-profile matters. See, e.g., Brief of Respondent
24   Albert Gore, Jr., Bush v. Gore, No. 00-949 (S.Ct. 2000) (listing Harvard Law Professor Laurence
     Tribe as “counsel of record” and depicting his official Harvard University office address).
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 29
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 30 of 41 Page ID
                                      #:1532



1
     testimony to a state legislature,7 and was even retained by the state legislature to
2
     help craft legislation to protect its electoral votes. Eastman Decl. ¶ 6. For that
3
     “outside” work, Dr. Eastman utilized his Chapman address and Chapman email.
4
     He even utilized the research services of Chapman’s library and Chapman
5
     students. Far from being chastised for engaging in “unauthorized” work using
6
     Chapman’s resources, Chapman praised Dr. Eastman’s work, the national
7
     recognition of his expertise that it reflected, and the phenomenal opportunity it
8
     provided to his students.
9
            Even if Dr. Eastman’s work here was somehow “unauthorized” under
10
     Chapman’s post-hoc interpretation of its rules, however, such would be irrelevant
11
     to the issue of whether Dr. Eastman and, as importantly, his clients, had a
12
     reasonable expectation of confidentiality in his email communications sent and
13
     received using Chapman’s email system. The privilege is held by the client, after
14
     all. Cal. Evid. Code § 953; Hunt v. Blackburn, 128 U.S. 464, 470 (1888) (“the
15
     privilege is that of the client alone”).
16
         VI.    The Privilege Was Not Waived Through Inclusion of Third Parties
17
                on Communications
18
            The congressional defendants have objected to many of Plaintiff’s work
19
     product designations on the ground that communications included parties outside
20
     the attorney client relationship. However, the defendants themselves have already
21
     conceded that “unlike the attorney-client privilege, the work product privilege is
22
     7
23     See Florida Legislature Select Joint Committee on the 2000 Presidential Election, Hearing on
     the Matter of the Appointment of Presidential Electors (Nov. 29, 2000), available at
24   https://www.c-span.org/video/?160847-1/manner-appointment-presidential-electors (last visited
     Jan. 22, 2022).
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 30
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 31 of 41 Page ID
                                      #:1533



1
     not automatically waived by any disclosure to a third party.” ECF 23-1 at 21
2
     (response to plaintiff’s motion for temporary restraining order). Disclosures to a
3
     third party do not waive the work product privilege unless the third party is a
4
     “conduit” to the adversary. United States v. Sanmina Corp., 968 F.3d 1107, 1120
5
     (9th Cir. 2020).
6
           As set forth in Plaintiff’s declaration, none of the third parties included on
7
     work product communications were adversaries or conduits to adversaries. To the
8
     contrary, the third parties had interests aligned with Dr. Eastman’s client.
9
     Including such parties in work product communications does not waive the
10
     privilege.
11
           VI. This Court Should Revisit its TRO Holding on the First
12
     Amendment
13
           In deciding Plaintiff’s privilege claims, this Court should revisit whether the
14
     defendant’s subpoena violates the First Amendment. Although the Court denied
15
     this claim at the TRO stage, the issue had not been fully briefed. Moreover,
16
     Plaintiff at that point had no access to the Chapman materials which did not allow
17
     him to make a specific First Amendment claim. As the Court stated,
18
           In contrast to the significant public interest, Dr. Eastman has identified
19
           neither any specific associational interest threatened by production of his
20
           Chapman communications, nor any particular harm likely to result from
21
           their production. Dr. Eastman has therefore failed to make the required
22
           prima facie showing that enforcement of the subpoenas will result in (1)
23
           harassment or (2) other consequences which objectively suggest an impact,
24
           on or chilling of, his associational rights.
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 31
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 32 of 41 Page ID
                                      #:1534



1
     ECF 43 at 13 (ellipses, quotes and brackets omitted).
2
           Having reviewed a large portion of the Chapman materials, Plaintiff is now
3
     positioned to address this concern of the Court’s.
4
           Watkins v. United States, 354 U.S. 178 (1957), cited in this Court’s January
5
     26 order, provides the best guidance to the Court, so we discuss it at some length.
6
     In that case, the petitioner, a labor activist, had appeared before a subcommittee of
7
     the House UnAmerican Activities Committee (HUAC). Id. at 182. The petitioner
8
     answered some questions but refused to answer others. The petitioner stated:
9
           I will answer any questions which this committee puts to me about
10
           myself. I will also answer questions about those persons whom I knew
11
           to be members of the Communist Party and whom I believe still are. I
12
           will not, however, answer any questions with respect to others with
13
           whom I associated in the past. I do not believe that any law in this
14
           country requires me to testify about persons who may in the past have
15
           been Communist Party members or otherwise engaged in Communist
16
           Party activity but who to my best knowledge and belief have long
17
           since removed themselves from the Communist movement.
18
     Id. at 185.
19
           The petitioner was convicted of contempt and appealed. In considering
20
     petitioner’s claim, the Court held that, “[c]learly, an investigation is subject to the
21
     command that the Congress shall make no law abridging freedom of speech or
22
     press or assembly.” Id. at 197. The Court held further that, “when First
23
     Amendment rights are threatened, the delegation of power to the committee must
24

25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 32
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 33 of 41 Page ID
                                      #:1535



1
     be clearly revealed in its charter.” Id. at 198 citing, United States v. Rumley, 345
2
     U.S. 41 (1943) (italics added).
3
           The Court then turned to HUAC’s charter, which it quoted as follows:
4
           The Committee on Un-American Activities, as a whole or by
5
           subcommittee, is authorized to make from time to time investigations
6
           of (1) the extent, character, and objects of un-American propaganda
7
           activities in the United States, (2) the diffusion within the United
8
           States of subversive and un-American propaganda that is instigated
9
           from foreign countries or of a domestic origin and attacks the
10
           principle of the form of government as guaranteed by our
11
           Constitution, and (3) all other questions in relation thereto that would
12
           aid Congress in any necessary remedial legislation.
13
     Id. at 202. The Supreme Court was rightly troubled by the breadth of this
14
     commission, stating “[i]t would be difficult to imagine a less explicit authorizing
15
     resolution. Who can define the meaning of ‘un-American’?” Id. at 202.
16
           HUAC claimed that this resolution gave them broad powers sufficient
17
           to cover the petitioner’s refused testimony, arguing that, “[the Court]
18
           must view the matter hospitably to the power of the Congress—that if
19
           there is any legislative purpose which might have been furthered by
20
           the kind of disclosure sought, the witness must be punished for
21
           withholding it.”
22
     Id. at 204. This is the same argument the congressional defendants raise
23
     here, and have raised in many cases across the country.
24
     The Supreme Court was rightly skeptical of this argument, stating that:
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 33
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 34 of 41 Page ID
                                      #:1536



1
           The consequences that flow from this situation are manifold…[t]he
2
           Committee is allowed, in essence, to define its own authority, to
3
           choose the direction and focus of its activities. In deciding what to do
4
           with the power that has been conferred upon them, members of the
5
           Committee may act pursuant to motives that seem to them to be the
6
           highest. Their decisions, nevertheless, can lead to ruthless exposure of
7
           private lives in order to gather data that is neither desired by the
8
           Congress nor useful to it.
9
     Id. at 204-05 (italics added).
10
           In this case, the Select Committee’s resolution poses the same First
11
     Amendment risks of unrestrained congressional power that the Supreme Court
12
     identified in Watkins. In addition to tasking the Select Committee with
13
     investigating January 6 itself, the authorizing resolution has several phrases every
14
     bit as nebulous as those in the HUAC resolution, including those empowering the
15
     committee:
16
           To investigate the facts, circumstances, and the causes relating to the
17
           January 6, 2021 domestic terrorist attack…as well as the influencing
18
           factors that fomented such an attack on American representative
19
           democracy while engaged in a constitutional process.
20
                                               ***
21
           To build upon the investigations of other entities…including
22
           investigating influencing factors related to such an attack.
23
     H.Res. 503, § 3 (italics added).
24

25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 34
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 35 of 41 Page ID
                                      #:1537



1
           This broad resolution raises the exact same concerns which the Supreme
2
     Court identified in the HUAC authorizing resolution. What possible limit could
3
     there be in a charge to investigate the “influencing factors” of a historical event
4
     such as Jan 6? For example, some commentators have suggested that certain
5
     religious beliefs contributed to January 6. See,e.g. Thomas B. Edsall, The Capitol
6
     Insurrection Was as Christian Nationalist as it Gets, New York Times (Jan. 28,
7
     2021). Is the January 6 committee therefore entitled to exercise its investigative
8
     authority to pry into the religious beliefs of certain Americans? Other
9
     commentators have posited a link between individual financial struggles and
10
     participation in January 6. See, e.g., Todd C. Frankel, A majority of the people
11
     arrested for Capitol riot had a history of financial trouble, Washington Post (Feb.
12
     10, 2021). Is the committee therefore empowered to pry into the financial lives of
13
     Trump supporters?
14
           The potential scope of the committee’s authority is not merely theoretical. It
15
     is clearly illustrated in the present case. The concern for First Amendment
16
     freedoms expressed by the Watkins Court in the 1950’s is magnified many times
17
     over in the digital age. Here, the select committee is using its investigatory power
18
     to seize tens of thousands of emails and attached documents from Dr. Eastman. As
19
     is apparent from plaintiff’s in camera productions, the committee’s broad request
20
     has necessarily swept up private information from dozens of individuals. Although
21
     these persons had no substantial connection with January 6 itself, the
22
     communications in question reveal much about these persons identities,
23
     associational choices, political beliefs and other protected First Amendment areas.
24
     In certain social and professional circles these days, having disfavored views on
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 35
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 36 of 41 Page ID
                                      #:1538



1
     the 2020 election can be as personally damaging as being labeled a communist was
2
     in the 1950’s. Disclosing this information to a committee comprised of politicians
3
     hostile to these views could expose these individuals to public scorn, job loss,
4
     harassment and even death threats. It will have an unconstitutional chilling effect
5
     on the First Amendment.
6
        VII. This Court Should Revisit the TRO Holding on the Fourth
7
               Amendment
8
           Plaintiff’s complaint alleges that the congressional defendants’ subpoena
9
     violates his Fourth Amendment Rights. Although this Court denied this claim
10
     following the TRO hearing, the issue had not been fully briefed nor, as explained
11
     below, had the full scope of the committee’s subpoena been made clear.
12
           In denying Plaintiff’s Fourth Amendment claim at the TRO stage, this Court
13
     relied on two historic Supreme Court cases applying a simple overbreadth standard
14
     for Fourth Amendment analysis of congressional subpoenas. Oklahoma Press
15
     Pub. Co. v. Walling, 327 U.S. 186, 209 (1946); McPhaul v. United States, 364 U.S.
16
     372, 382 (1960).
17
           McPhaul and Oklahoma Press both predate the Supreme Court’s important
18
     Fourth Amendment decisions in Katz v. United States, 389 U.S. 347 (1967), and
19
     Carpenter v. United States, 138 S. Ct. 2206 (2018). These two decisions expanded
20
     Fourth Amendment protections. Katz held that the Fourth Amendment applies
21
     where an individual has a reasonable expectation of privacy, regardless of whether
22
     there is a physical trespass. 389 U.S. 347 (1967). Carpenter held that a warrant
23
     was required to access historical cell site data in the possession of a third party
24

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26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 36
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 37 of 41 Page ID
                                      #:1539



1
     phone company. 138 S. Ct. 2206 (2018). If McPhaul and Oklahoma Press were to
2
     be decided today they would be likely to come out quite differently.
3
           In fact, at least one court has already implicitly recognized the de facto
4
     obsolescence of McPhaul and Oklahoma Press. In Senate Select Committee on
5
     Ethics v. Packwood, the D.C. district court considered a challenge from a sitting
6
     Senator to a congressional subpoena seeking his personal diary entries. 845
7
     F.Supp 17 (D.C. Dist. Ct. 1994). The Senator argued the subpoena violated his
8
     right to privacy under the Fourth Amendment Id. at 21. Instead of simply applying
9
     the McPhaul “overbreadth” standard, the Court “balanc[ed] Senator Packwood's
10
     expectations of privacy in his personal diaries against the Ethics Committee's
11
     interest in examining them for evidence of misconduct, and the nature of the
12
     scrutiny it proposes to give them.” Id. at 22. Although the court ultimately upheld
13
     the subpoena, it’s analysis shows that by 1994 the McPhaul standard had already
14
     been recognized as superseded by more recent developments in 4th amendment
15
     law like Katz.
16
           Here, it is clear that Dr. Eastman’s Fourth Amendment expectations of
17
     privacy outweigh the needs of the committee.
18
           The defendants’ subpoena represents a major invasion of Dr. Eastman’s
19
     private papers. The subpoena, by its terms, seeks emails from Dr. Eastman, “that
20
     are related in any way to the 2020 election or the January 6, 2021 Joint Session of
21
     Congress…during the time period November 3, 2020 to January 20, 2021.” But,
22
     as proceedings before this Court have revealed, the subpoena is actually a great
23
     deal broader than that. As discussed at the TRO hearing, Chapman reported to the
24
     congressional defendants that there were approximately 30,000 emails “within the
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 37
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 38 of 41 Page ID
                                      #:1540



1
     date range.” ECF 44 at 79 The committee provided Chapman with a list of search
2
     terms. Id. Chapman “ran terms that were provided by the Committee and we
3
     didn’t really have any decision making process.” Id. at 78. Running the search
4
     terms reduced the number of emails from 30,000 to 19,620. Id.
5
           The fact that Chapman “didn’t really have any decision making process” and
6
     simply produced documents in the date range which contained a search term is
7
     highly significant. It effectively excised the clause “related in any way to the 2020
8
     election or the January 6, 2021 Joint Session of Congress” from the subpoena and
9
     replaced it with “any email within the date range that contains a search term.”
10
           The search term procedure has been represented to this court as narrowing
11
     the subpoena but in fact the opposite is true. The search terms (provided to
12
     plaintiff by defendants) are in no way limited to the election or the Joint Session of
13
     Congress. See Ex. 3. They greatly expanded the scope of the subpoena beyond its
14
     original terms. The search terms are not limited to Dr. Eastman’s legal theories
15
     about the electoral college or his brief remarks on January 6. For example, the
16
     search terms included “.gov”, “antifa”, “Cruz”, “Hawley”, “China”, “Luttig”, and
17
     many other terms which might naturally return documents completely unrelated to
18
     the election or the certification of results. The subpoena is in reality a license for
19
     the committee to sift through several months of Dr. Eastman’s political and
20
     personal communications which may have no connection to January 6. It is a
21
     major invasion of his Fourth Amendment expectation of privacy.
22
           Meanwhile, the congressional defendants have not demonstrated a
23
     compelling interest in accessing these communications. As the recent Trump v.
24
     Thompson decision reminded us, the purpose of congressional investigations is to
25
26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 38
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 39 of 41 Page ID
                                      #:1541



1
     write laws. 20 F.4th 10, 41-42 (D.C. Cir. Dec. 9, 2021). There is no
2
     congressional “power to expose for the sake of exposure.” Watkins, 354 U.S. at
3
     200. Despite several chances to do so over the course of this case, the
4
     congressional defendants have identified no piece of legislation that is being
5
     unduly delayed through want of access to Dr. Eastman’s emails. They have
6
     certainly not identified legislation which depends upon access to Dr. Eastman’s
7
     correspondence about “antifa”, “China”, “Venezuela”, or any of the other search
8
     terms. This Court should hold that any congressional interest in Dr. Eastman’s
9
     private papers that were retained (unknownst to Eastman) in stored archives by
10
     Chapman University is outweighed by Dr. Eastman’s strong Fourth Amendment
11
     expectation of privacy.
12

13                                      CONCLUSION
14
           For the foregoing reasons, plaintiff requests this Court order that the
15
     materials identified on plaintiff’s privilege logs are protected from disclosure to the
16
     defendants by the attorney client and work product privileges.
17

18
     February 22, 2022                        Respectfully submitted,
19

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26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 39
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 40 of 41 Page ID
                                      #:1542



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26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 40
     Case 8:22-cv-00099-DOC-DFM Document 144 Filed 02/25/22 Page 41 of 41 Page ID
                                      #:1543



1
                               CERTIFICATE OF SERVICE
2
           I have served this filing on all counsel through the Court’s ECF system.
3
                                              Respectfully submitted,
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26   PLAINTIFF’S BRIEF IN SUPPORT OF PRIVILEGE ASSERTIONS - 41
